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7                                    UNITED STATES DISTRICT COURT

8                                 SOUTHERN DISTRICT OF CALIFORNIA

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                                                            Case No.: 19CV832-MMA(BLM)
10    LOALOA SHAMOUN,

11                                         Plaintiff,       ORDER CLARYFING MARCH 25, 2020
                                                            NOTICE AND ORDER FOR TELEPHONIC
12    v.                                                    EARLY NEUTRAL EVALUATION
                                                            CONFERENCE AND CASE
13    SHEFAN KHOSHO,
                                                            MANAGEMENT CONFERENCE
14                                       Defendant.
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16         On March 25, 2020, the Court issued a Notice and Order for Early Neutral Evaluation
17   Conference and Case Management Conference. ECF No. 27. The first paragraph of the order
18   stated, “that a telephonic, attorneys-only Early Neutral Evaluation of your case will be held on
19   April 30, 2020.”    Id. at 1.    The order then stated that “[c]ounsel and parties or client
20   representatives with full settlement authority for each party must be immediately available by
21   telephone for the duration of the ENE.” Id. The Court recognizes the potentially confusing
22   nature of this language and, therefore, issues this order to clarify that both counsel and parties
23   or client representatives with full settlement authority are required to participate in the
24   conferences. The conferences are not attorneys-only.
25         IT IS SO ORDERED.
26   Dated: 4/19/2020
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                                                                                     19CV832-MMA(BLM)
